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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

ORACLE USA, INC., a Colorado corporation;

ORACLE AMERICA, INC., a Delaware

corporation; and ORACLE INTERNATIONAL

CORPORATION, a California corporation,

Plaintiffs,
Vv.

RIMINI STREET, INC., a Nevada corporation;

AND SETH RAVIN, an individual,

Defendants.

Case No. 2:10-cv-0106-LRH-PAL

DECLARATION OF ZACHARY
HILL IN SUPPORT OF ORACLE’S
OPPOSITION TO DEFENDANTS’
MOTION TO MODIFY THE
PROTECTIVE ORDER

HILL DECLARATION ISO ORACLE’S OPPOSITION TO DEFENDANTS’ MOTION
TO MODIFY THE PROTECTIVE ORDER
Case-2:10-cv-00106-LRH-VGF--Document-545.- Filed 03/30/15--Page-2-of 3

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I, Zachary Hill, declare as follows:

1. I am an attorney at Morgan Lewis & Bockius LLP, counsel of record in this
action for Plaintiffs Oracle USA, Inc., Oracle America, Inc., and Oracle International Corp.
(collectively, “Oracle”). I submit this declaration in support of Oracle’s Opposition to
Defendants’ Motion to Modify the Protective Order. I have personal knowledge of the facts set
forth in this declaration and would competently testify to them if called upon to do so.

Oracle’s Exhibit List

2. I reviewed the exhibit list Oracle submitted with the parties’ November 21, 2014
proposed Joint Pretrial Order. Dkt. 523, Appendix A. Oracle’s exhibit list included
approximately 2,000 documents that Oracle designated “Highly Confidential — Attorneys’ Eyes
Only” under the protective order in this action.

3. Approximately 1,850 of these documents are license agreements and other
contracts between Oracle and its customers, and associated documents. Many of these
documents have non-disclosure clauses. They also include lists of Oracle’s customers, customer
relationship analyses, Oracle pricing information, and license and contract terms that Oracle has
negotiated with its customers.

4, The next largest group of “Highly Confidential — Attorneys’ Eyes Only”
documents on Oracle’s exhibit list a non-public, internal Oracle financial data regarding Oracle’s
business practices.

5. The remaining documents include Oracle’s intellectual property, competitive risk
analyses related to business strategies, and documents revealing business protocols related to
Oracle’s investigation into Rimini’s illegal downloads of millions of files of Oracle software and
support materials.

6. Oracle’s exhibit list also includes documents produced by third parties that they
designated as “Highly Confidential — Attorneys’ Eyes Only” under the protective order. These
documents include analyses of whether to contract with Rimini for various strategic reasons and

business protocols regarding contract approval and consideration of client references.

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HILL DECLARATION ISO ORACLE’S OPPOSITION TO DEFENDANTS’ MOTION
TO MODIFY THE PROTECTIVE ORDER
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Documents Cited in Oracle’s Opposition

7. Attached as Exhibit A is a true and correct copy of excerpts of the November 17
and 18, 2011 depositions of Seth Ravin.

8. Attached as Exhibit B is a true and correct copy of Oracle Deposition Exhibit 950,
which was introduced during the November 18, 2011 deposition of Seth Ravin.

9. Attached as Exhibit C is a true and correct copy of Judge Trumbull’s Order
Following an Evidentiary Hearing in Schlafly v. Public Key Partners, et al., No. 5:94-cv-20512-
SW (PVT) (N.D. Cal. July 18, 1995).

10. Attached as Exhibit D is true and correct copy of an article entitled “To beat
Oracle, find jurors who care about Leisure Suit Larry not Larry Ellison,” which I accessed from
theregister.co.uk, and which is available at

http://www.theregister.co.uk/2015/02/27/to_beat_oracle in court_or_ commerce. start outside c

alifornia/.

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct and that this declaration was executed at San Francisco, California on March 30,

2015.

By: KL GLA 2
Sgt

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HILL DECLARATION ISO ORACLE’S OPPOSITION TO DEFENDANTS’ MOTION
TO MODIFY THE PROTECTIVE ORDER
